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                                                                                    ON,VA
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                IN TH E UNITED STATES DISTRICT COUR T                          DE2 1 ? 2212
               FO R T H E W ESTER N D IST R IC T O F V IR G IM A
                         BIG ST O N E G A P D IV ISIO N                   JU    C.        LEY C
                                                                      BY:            ,,

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D O N W .M CK IN N EY ,

                Plaintiff,                            CaseNo 2:18CV 6-l,
                                                               .




                                                      O PIN IO N A N D O R D E R

C O M M O N W E A L TH O F V IR G IN IA ,             By: Jam esP.Jones
E T A L .,                                            U nited States D istrictJudge

                 Drfendants.

      Don I'JIM cKinney,ProSePlaintff
      ln thispro se action,the plaintiffseeks to proceed in form a pauperis. B ased

upon the financialaffidavit he has subm itted,l will allow his pleading,which I

treatasaComplaintunder42U.S.C.j 1983,tobefiledwithoutthepaymentofthe
filing fee,pursuantto 28U.S.C.j 1915(a)(1). However,upon examination ofthe
Com plaintand otherm aterials subm itted by the plaintiff,1w illdism issthe case. l

willalso give the plaintiff21 days to objectto a proposed Pre-Filing Injunction
prohibiting him from proceeding in forma pauperis ((dIFP'')for a period of four
years in any case involving claim s previously asserted and dism issed.



      In O ctober 1993,M cK inney w as arrested on a state crim inal charge and a

probation violation charge and he w as detained untilFebruary 1994. H e eventually



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pleaded notguilty by reason ofinsanity and hasbeen thereafterconfined in m ental

health institutions from tim e to tim e. Since then,he has fled nunAerous pro se

actions in this court raising various com plaints related to the state crim inal case

and his confinem ent. The court'srecords indicate thatsince 1993,M cKirm ey has

filed at least 38 separate cases. The actions com e on a regular basis,usually once

or tw ice a year. In this,his latest action,he com plains that he w as w rongfully

confined follow ing the state crim inal case,and he also com plaints of a state civil

action filed in 2006 involving thesale ofland in which he claim ed an interest.

      M cK inney alleges thatthe Circuit Courtof W ise County violated his Sixth

Amendm ent rightto a jury trialfollowing his plea of notguilty by reason of
insanity by confining him and giving him ttbad m edication.'' Com pl. 1. The

m edicine allegedly was adm inistered by the Lee and W ise County PD-I

B ehavioral H ealth Com m unity Services B oard from M ay 24, 2010, until the

Present.

      M cK inney further contends thathis crim inalcase should have been heard in

Lee C ounty rather than W ise County. H e alleges that the Circuit Court of W ise

C ounty w rongfully sold his land w ithouthis signature. H e claim s that A ngie and

Jolm Fleenor are illegally living on his land w ithout paying rent, and he w ants

them evicted.




                                        -   2-
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      Since m ailing his originalpleading in thiscase on June 11,2018,M cltinney

has subm itted severaladditionalpleadings as attachm ents. ln the first,captioned

((R e: Land,'' he com plains that he did not sign any papers w hen his land w as

auctioned off and bought by Edna B oggs, D aniel M cK inney, and Jeannine

Chapm an in 2006,2007,and 2008. H e w ants the Circuit CourtofW ise C ounty to

return hisland to him and repay the purchasers. H e contendshe isentitled to the

land because the land w as bequeathed to him in the willofCallow ay M cK irm ey,

hisfather.

      ln the next attachm ent,styled as a letter to m e,he asserts thatthe land w as

stolen from him by B oggs,D anielM cK inney,and Chapm an. H e claim s the land

was sold withouthis signature because he washospitalized atthe tim e following

hiscrim inalprosecution. H ethen w rites,

      Y ou cannot sellland cause w e did not m ake it,Jesus Christm ade it,
      and ifyou say you can sellland then you are m aking Jesus Christout
      of a liar, and he is not! Jesus Christ is the w ay,the truth and life,
      nobody com es unto the Father except through Jesus Christ. A m en.
      Please forgive m e Jesus Cluist,forgive m e,1repent! Praise the H oly
      Ghost whom resides in m e. N ow getting back to the land grabbers
      they w ere stupid cause 1 am not giving up m y land that Jesus Christ,
      C allow ay M cK inney m ade m e the ofticial heir or else have thç
      FederalCourtwrite an Orderto givem y land back.
Ltr.1-2. In a postscript,he w rites,çcrfhere isno statute of lim itations on land w hat

Jesus Christm adel'' Ltr.2.




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      H e next subm itted a N otice to this Courtthat Plaintiff W ants his Case

Expedited orSped Up. ln thispleading,afterrequesting thathiscase be expedited,

he wrote,EtAlso,please note: A m oped by definition underm otorvehicle shallbe

deem ed not a m otor vehicle, and m y case is real, due to it happened to a real

person by the nam e of D on W ayne M cK irm eyl'' N otice 1. On O ctober 22,2014,

he subm itted a completed short form Application to Proceed in District Court

W ithoutPrepaying Fees or Costs in which he indicated thathe receives $740 per

m onth in disability benefits and hasonly ten cents in his barlk account.

      M ostrecently M cK inney subm itted anotherpleading styled as a letter to m e.

ln theletter,herequestsan injunction to preventhim from returning to the Circuit
Courtof W ise County or any Comm unity Services Board because of an alleged

unspecised conflict. H e also asks m e to close W ise County B ehavioral H ealth

because itis allegedly distributing dangerous synthetic m edications.

      The only defendants nam ed by him in the present action are the

Com m onw ealth of V irginia,the Circuit C ourtof W ise C ounty,V irginia,and this

court. ltisapparentthattheplaintiffhagfailed to statea claim on which reliefm ay

be granted and accordingly,his action willbe dism issed pursuant to 28 U .S.C.

j 1915(e)(2)(B)(ii).




                                         4-
                                         -




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                                        1l.

      A snoted above,M cK inney frequently tiles duplicative,frivolous casesthat

strain this'court's lim ited resources. W hile his cases are pending,he usually files

m ultiple attachm ents and often callsthe clerk's offce to check on the statusofthe

case. This appears to be the second case brought by M cK irm ey regarding the

decade-old land sale. See Op., M cK inney v. United States D istrict Court, N o.

2:17CV 00018,ECF N o.        M any of M cK irm ey's prior com plaints have asserted

thatthe 1994 state courtcriminaljudgm entfinding him not guilty by reason of
insanity w as unconstitutional or otherwise invalid. Scc, c.g., M cK inney v.

Commonwealth of Virginia, 2:15CV00013; M cKinney v. Commonwea1th of
Virginia,2:12CV00032;M cKinney v.Commonwealth of Virginia,7:12CV00166;
M cK inney       Commonwealth of Virginia, 7:11CV00576,
                                                      . M cKinney v.
Commonwealth of Virginia,2'
                          .10CV00067;McKinney v.Wise Cfy.Cir.Ct.,7:07-
cv-00004; M cK inney       Unnam ed Respondent, 7:06-cv-00702; M cK inney v.

K ilgore, 7:05-cv-00450;M cK inney v.K ilgore,7:05-cv-00255,
                                                           .M cKinney v. W ise

C/y. Cir. Ct.,7:01-cv-00l81'
                           ,M cK inney v.D eans, 7'
                                                  .99-cv-00423. W hile 1 am

m indfulthatM cK inney is a pro se litigantand suffers from m entalillness,1believe

a limited pre-filing injunction againstM cKinney may be necessary to preserve
scarcejudicialresources.



                                        -   5-
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      tçg-llhe A11W ritsAct,28 U.S.C.j 1651(a)(2000),grantsfederalcourtsthe
authority to lim it access to the courts by vexatious and repetitive litigants .. ..''

Cromerv.Kra.ftFoodsALAm.,lnc.,390 F.3d 812,817 (4th Cir.2004). ççsuch a
drastic.rem edy m ust be used sparingly, how ever, consistent w ith constitutional

guarantees of due process of 1aw and access to the courts.'' 1d. Courts m ust be

particularly cautiousin lim iting therightofpro se litigantsto accessthe courts. 1d.

The Fourth Circuithasadvised,

            In determining whether a pretiling injunction is substantively
      w arranted, a court m ust w eigh a11 the relevant circum stances,
      including (1)theparty'shistory oflitigation,in particularwhetherhe
      hasfiledvexatious,harassing,orduplicative lawsuits;(2)whetherthe
      party had a good faith basis for pursuing the litigation, or sim ply
      intendedtoharass;(3)theextentoftheburden on thecourtsand other
      parties resulting from the party's filings;and (4) the adequacy of
      alternative sanctions.

Id.at818. lfIdeterminethatapre-filing injunction isappropriate,Iççmustensure
thatthe injunction isnarrowly tailored to fitthe specifc circllmstances atissue.''
1d. l m ust also provide M cK inney w ith notice and an opportunity to be heard

beforeany injunctiontakeseffect.1d.at819.
      Applying the Cromer factorb,M cKirmey has a history of filing duplicative

lawsuitsasserting claimsthatthe courthasalready adjudicated.Ifind thathehas
no good faith basis for repeatedly asserting the sam e claim s. A ddressing each of

his pleadingsand the related inquiries consum es the scarce resources ofthis court's

staff. EtEvery paper filed w ith the Clerk ofthis Court,no m atter how repetitious or

                                         -   6-
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frivolous,requiressom eportion ofthe institution'slim ited resources.A partofthe

Court's responsibility is to see that these resources are allocated in a w ay that

promotesthe interests ofjustice.'' ln re McDonald,489 U.S.180,184 (1989).
Finally,because M cKinney has little incom e and virtually no assets,l find that

altem ative m easures such as m onetary sanctions w ould be inadequate to deter him

from seeking to usethe1FP procedureto file future actions.

      For these reasons,Ibelieve thatitis necessary to enjoin M cKinney 9om
proceeding 1FP for a period of fouryears in any action involving claim s previously

m ade and dism issed. He willalso be required to subm it a copy ofthe pre-tiling

injunction with any new action submitted in this district. Consistentwlth due
process requirem ents,M cllinney willhave 21 days to object to the proposed
injunction.
                                        111.

      Itishereby O R D E R ED as follow s:

         The Com plaintw illbe tsled w ithoutthe paym entofa filing fee;

      2. The Com plaintw illbe D ISM ISSED by separate order for failure to state

         a claim ;and

      3. The plaiùtiff,D on W .M cK irm ey,shallhave 21 days from today's date to

         object to the proposed Pre-Filing Injunction described above. If



                                        -
                                            7-
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        M cKinney does nottimely object, the court will enter a Pre-Filing
        lnjunctionwith thetermssetforth herein.


                                             EN TER : D ecem ber 17,2018

                                             /s/ Jam esP.Jones
                                             U nited States D istrictJudge




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